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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                                        Civil Case No.:__________


   CURTIS J. JACKSON, III p/k/a 50 CENT,                           JURY TRIAL DEMANDED

             Plaintiff,

       v.

   ANGELA KOGAN and PERFECTION PLASTIC
   SURGERY, INC. d/b/a PERFECTION PLASTIC
   SURGERY & MEDSPA,

             Defendants.

   ________________________________________/


                                              COMPLAINT

            Plaintiff Curtis J. Jackson, III p/k/a 50 Cent (“Plaintiff” or “Jackson”), by and through his

  undersigned counsel, for his Complaint against Defendants Angela Kogan (“Kogan”) and

  Perfection Plastic Surgery, Inc. d/b/a Perfection Plastic Surgery & MedSpa (“MedSpa”)

  (collectively, “Defendants”), hereby alleges as follows:

                                            INTRODUCTION

            This case is about the abuse of a popular entertainer and businessman’s act of goodwill by

  an unscrupulous business owner for her own economic gain. Under false pretenses, Defendant

  Angela Kogan took a photograph with Plaintiff Curtis J. Jackson, III (the “Photo”) and

  subsequently used it to promote her business without Jackson’s consent. Defendants also falsely

  implied in several online publications that Jackson was their plastic surgery client. Two years after

  the Photo was taken, Kogan used it again, this time—shockingly—to support the false insinuation

  that Defendants had provided a penile enhancement treatment to Mr. Jackson. Jackson never had


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  such a sexual enhancement procedure, he has never received plastic surgery from Defendants, and

  he never consented to the commercialization and publication of the Photo. Defendants’ actions

  have exposed Jackson to ridicule, caused substantial damage to his professional and personal

  reputation, and violated his right to control his name and image (which has significant economic

  value).

                                   STATEMENT OF THE CASE

            1.     On or about February 1, 2020, Plaintiff Curtis J. Jackson, III—a world-famous

  celebrity and entrepreneur—graciously agreed to have the Photo taken with someone he thought

  was a fan. Jackson could not have known at the time that this Photo would repeatedly be exploited

  as promotional content by, and as a false endorsement for, a well-known aesthetician and business

  owner in the Miami area, Defendant Angela Kogan, and for Kogan’s plastic surgery company,

  Defendant MedSpa. In the over two years since the Photo was taken, Defendants have used

  Jackson’s image and name for advertising and publicity purposes on Defendants’ social media

  accounts. Jackson never consented to his image, likeness, and name being used in this manner.

            2.     Moreover, two and a half years after the Photo was taken, Defendants’ misuse of

  Jackson’s image took a significantly more disturbing turn. On August 17, 2022, The Shade Room

  (“TSR”), a pop-culture media outlet that focuses on the Black community, published an article

  (the “Article”) featuring Kogan discussing the apparent rise in plastic surgery for men, with a

  specific focus on male sexual enhancement procedures. The Photo Kogan took with Jackson two

  years prior was used as part of a thumbnail image that appears any time the Article is shared or

  posted online.

            3.     The implication was clear: in the TSR Article, the Photo is juxtaposed with an

  image of a faceless male obtaining a penile enhancement procedure, with a euphemistic eggplant



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  emoji covering his exposed groin area (the “Thumbnail Image”). Neither Defendants nor TSR

  sought Jackson’s permission to use the Photo, let alone in this particular manner. Even if

  Defendants had asked for permission, Jackson never would have consented to Kogan or MedSpa’s

  commercial use of the Photo, especially not in this context.

         4.      Not only were Jackson’s image and name linked to a sexual enhancement treatment

  he never had, but Kogan also falsely implied to the TSR reporter that Jackson was her client for

  plastic surgery more generally. The Article states that “Angela Kogan… has an extensive clientele

  of celebrities, including… 50 Cent” in the context of discussing plastic surgery. Kogan and

  MedSpa were aware that Jackson had never received plastic surgery at MedSpa because, as

  providers of health care services, they would have no doubt as to whether an individual was treated

  by them.

         5.      To be abundantly clear, Jackson never obtained: (a) plastic surgery procedures from

  Kogan or MedSpa, or (b) the penile enhancement or other procedures described in the Article.

         6.      Adding further insult to injury, Defendants repeatedly shared the Article across

  their various Instagram accounts. In their doing so, the Thumbnail Image was prominently

  displayed in almost every public post Defendants shared. Additionally, the captions on

  Defendants’ posts contained popular hashtags, as well as company-specific hashtags, which are

  commonly used to generate greater visibility and reach for the posts and, by extension, the

  company itself.

         7.      Defendants’ collective Instagram accounts have nearly half a million followers. The

  Photo has therefore been exposed to the wide audience of Defendants’ followers, inevitably

  leading many of those followers to misconstrue Jackson’s image and name as an endorsement of

  Kogan and MedSpa’s business, or as verification that Jackson himself had received the plastic



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  surgery procedures described in the Article. Indeed, comments made on the various Instagram

  posts already leave no doubt that consumers have been misled in this manner by Defendants.

             8.    From repeatedly re-sharing the Photo prior to August 17, 2022, to resharing the

  doctored Thumbnail Image on numerous occasions since then, Kogan and MedSpa

  opportunistically misappropriated Jackson’s name and image for their own promotional and

  commercial advantage. These actions amount to clear violations of the Lanham Act as well as

  violations of Jackson’s right to publicity, specifically, his right not to have his name and image

  appropriated for commercial exploitation by others without his express consent. Defendants’ acts

  also constitute conversion and unjust enrichment.

             9.    As a result of the ongoing invasion of Jackson’s publicity and the violation of his

  rights to control his own image and name (and the substantial economic value of these aspects of

  Jackson’s identity), Plaintiff has suffered, and continues to suffer, irreparable harm for which

  money damages are inadequate. Therefore, Plaintiff seeks an order enjoining Defendants from:

  falsely stating that Jackson is their client; sharing or publishing the Photo on social media,

  electronic media, or any other form of media whatsoever; and engaging in any other actions that

  would imply that Jackson supports or endorses Kogan and/or MedSpa.

             10.   Alternatively, Plaintiff seeks compensatory damages, treble damages under the

  Lanham Act, punitive damages, disgorgement of any direct and indirect profits earned by

  Defendants in connection with their use of Jackson’s name and image, attorney’s fees and costs

  for Lanham Act violations, and royalties. While Jackson’s damages have yet to be determined with

  particularity, they exceed the jurisdictional amount of $75,000 and likely amount to millions of

  dollars.




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                                               PARTIES

         11.     Plaintiff is a citizen of Texas and resides in Houston, Texas. Jackson is a Grammy-

  award winning rap artist, investor, entrepreneur, and philanthropist who is commonly known by

  his stage name 50 Cent. Given his extensive and successful career, Jackson’s image, name, and

  identity have substantial commercial value.

         12.     Upon information and belief, Defendant Angela Kogan is a citizen of the State of

  Florida and resides in Miami-Dade County. According to her public LinkedIn profile, Kogan is

  the Chief Executive Officer of Perfection Plastic Surgery & Med Spa, located at 16690 Collins

  Avenue, Suite 702, Sunny Isle Beach, Florida 33160.1 According to MedSpa’s website, Kogan is

  also a Licensed Aesthetician, Certified Laser Hair Removal Professional, Licensed Phlebotomist,

  and a Certified Medical Electrologist.2

         13.     Defendant MedSpa is a Florida domestic corporation with its principal place of

  business located at 16690 Collins Avenue, Suite 702, Sunny Isle Beach, Florida 33160. According

  to its website, MedSpa offers a variety of invasive and non-invasive cosmetic procedures.

                                   JURISDICTION AND VENUE

         14.     This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. §

  1332(a)(1) (diversity jurisdiction) because the amount in controversy exceeds the sum or value of

  $75,000, exclusive of interest and costs, and this action is between citizens of different states.




  1
    Angela Kogan, LINKEDIN, https://www.linkedin.com/in/angela-kogan-649165174 (last visited
  Aug. 26, 2022).
  2
    Perfection MedSpa, Our Staff, https://bayharborperfection.com/about-us (last visited Aug. 26,
  2022).

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          15.     This Court also has subject matter jurisdiction over this action pursuant to Section

  39 of the Lanham Act, 15 U.S.C. § 1121(a), and Sections 4 and 16 of the Clayton Act, 15 U.S.C.

  §§ 15(a) and 26.

          16.     This Court has personal jurisdiction over Kogan because Kogan is a Florida

  resident. Additionally, this Court has personal jurisdiction over Kogan pursuant to Fla. Stat.

  48.193(1)(a)(1) because she operates a business in Florida, and under Fla. Stat 48.193(1)(a)(2)

  because she committed tortious acts within the state.

          17.     This Court has personal jurisdiction over MedSpa because MedSpa is a Florida

  domestic corporation, and therefore is authorized to do business here and systematically and

  continuously conducts business here. MedSpa intentionally avails itself of the markets in Florida

  through its promotion, marketing, and sale of its products and services in this state.

          18.     Venue is proper in this District pursuant to 28 U.S.C. § 1391(b)(1) because Kogan

  resides in Miami-Dade County, and because MedSpa’s principal place of business is located in

  Miami-Dade County. Venue is also proper in this District pursuant to 28 U.S.C. § 1391(b)(2)

  because a substantial part of the events and omissions giving rise to this claim occurred in this

  District. Florida law applies to this action.

                                      STATEMENT OF FACTS

                  Jackson’s Status as a World-Famous Artist and Entrepreneur

          19.     For over twenty years, Jackson has had a multifaceted, public-facing career as a

  celebrated and award-winning rap artist, actor, and producer. In addition to his performing and

  recording career, Jackson is a seasoned businessman and entrepreneur.




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         20.     Jackson has founded and/or owns many well-known business ventures, including

  SMS Audio, Sire Spirits, and SK Energy. He has also hosted a music and comedy festival called

  Tycoon Fest in Houston, Texas for almost a decade.

         21.     In addition to these businesses, Jackson has leveraged his background into

  becoming a prolific television producer. As GQ magazine recently noted, he has sold 25 television

  shows across nine networks with more shows actively in production. GQ appropriately dubbed

  him as an “entertainment mogul,” having built a “TV empire.”3

         22.     As Jackson is both the strategic mind behind these endeavors and their public face,

  his name, likeness, and image are integral aspects of his various ventures’ brand identity,

  marketing, and strategic initiatives.

         23.     Jackson’s name, likeness, and image, therefore, have immense monetary value

  which is utilized at Jackson’s personal and professional discretion.

         24.     Jackson also has a large and devoted fan base from his many years in the

  entertainment industry. Jackson has 41 million followers on his Facebook page, 28.2 million

  followers on his Instagram account, and 12.5 million Twitter followers.

         25.     Because of Jackson’s extensive fan base, his various entertainment and business

  initiatives receive substantial public attention whenever his activities are mentioned in the media—

  including when third-parties discuss him and his work.

                                     Angela Kogan and MedSpa

         26.     According to MedSpa’s website and Kogan’s LinkedIn profile, Kogan is a licensed

  aesthetician, amongst other professional titles, who serves as the CEO of MedSpa.




  3
      Julian Kimble, How 50 Cent Conquered Television, GQ (Aug. 25,                            2022),
  https://www.gq.com/story/50-cent-tv-empire-power-ghost-raising-kanan-force-bmf.

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         27.     Kogan largely showcases MedSpa and her clients on her Instagram account. She

  also posts photos with celebrity clients.

         28.     Kogan has a significant Instagram following, with approximately 114,000

  followers. The number of Kogan’s followers would cause her to be categorized as a mid-tier

  influencer on Instagram, meaning that her posts, including photos and videos, make daily

  “impressions” on hundreds of thousands of followers and even non-followers via Instagram’s

  explore page feature or through others sharing her content.4

         29.     MedSpa is a multi-office plastic surgery provider and medical spa. MedSpa

  describes itself as “sweeping out the nation,” offering procedures ranging from minimally

  invasive, such as Botox, to invasive plastic surgeries.5

         30.      Like Kogan, MedSpa has a large audience on Instagram. The company has at least

  four distinct Instagram accounts, two of which are specific to MedSpa’s Sunny Isles Beach

  (296,000 followers) and Las Vegas (40,100 followers) locations. As of September, 16, 2022, all

  four MedSpa accounts have a total of approximately 359,786 followers. This means that MedSpa

  is also able to make impressions on hundreds of thousands of followers and even reach non-

  followers on a daily basis.

                                   Events Prior to August 17, 2022

         31.     On or about February 1, 2020, while on a trip to the Miami area, Jackson happened




  4
    A social media “impression” is a term of art in the social media marketing industry that means
  the number of times a social media user’s posts, videos, or other forms of content are displayed
  before an audience, regardless of whether the individual clicked or engaged with the post.
  Impressions are a useful analytic tool that social media content creators, like Kogan and MedSpa,
  utilize to assess the success of their posts, to gauge their reach, and to inform future paid or organic
  marketing campaigns.
  5
     About Us, PERFECTION MEDSPA, https://bayharborperfection.com/about-us (last visited
  September 1, 2022).

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  to be in the proximity of MedSpa.

         32.     Recognizing Jackson as a famous performing artist, Kogan asked Jackson if he

  would take a photograph with her. As a celebrity who is routinely asked to take photos with

  admiring fans, Jackson consented to Kogan’s request for the Photo.

         33.     Jackson agreed to having the Photo taken with the understanding that Kogan, like

  other fans he has encountered over the course of his 20-plus year long career, simply wanted a

  photograph with Jackson exclusively for her own private enjoyment.

         34.     On February 1, 2020, MedSpa, under the Sunny Isle Beach handle6

  “bh_perfection_medspa,” posted the Photo to its public Instagram account. Later on February 3,

  2020, Kogan, under the handle “angela_mk,” also posted a version of the Photo to her public

  Instagram account.




  6
    An Instagram “handle” is a social media term of art meaning a user’s unique username. An
  Instagram user’s handle is distinct from the name associated with their profile, which may be used
  by multiple users.

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            35.   MedSpa subsequently reposted the Photo on May 27, 2020, February 22, 2021, and

   on March 11, 2022.

            36.   Another Instagram account affiliated with MedSpa, under the handle

   “perfection_medspa,” posted the Photo on December 14, 2021. Then, on August 2, 2021, yet

   another affiliated Instagram account, under the handle “perfection_plasticsurgery,” posted the

   Photo.

            37.   Defendants posted the Photo at least seven separate times between February 2020

   and August 2022 (collectively, the “Original Posts”). Neither on or about February 1, 2020, nor at

   any time thereafter, did Kogan or MedSpa ask Jackson for permission to use the Photo or his name

   for any promotional or commercial purpose.




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          38.     Defendants’ use of the Photo for promotional and commercial purposes is

   evidenced by their use of high-visibility hashtags, self-promoting language, and use of the Photo

   on official company accounts.

          39.     Several of the Original Posts include high-visibility hashtags within the caption,

   such as #medspa, #celeb, and #miami. Even worse, three of the Original Posts include a #50Cent

   hashtag, meaning that any Instagram user looking at photos under this hashtag (which is associated

   specifically with Jackson) could likely find these images. Defendants’ use of these hashtags is a

   deliberate digital marketing and corporate branding choice designed to strengthen their reach to

   consumers.

          40.     Defendants’ posts imply without any subtlety that Jackson endorsed MedSpa’s

   business and services. The Original Posts serve as attention-seeking MedSpa advertisements and

   capitalize on Jackson’s fame to do so. Indeed, all of the Original Posts state in the caption that

   Jackson visited “the number one med spa,” promoting their business in the same breath as

   highlighting that Jackson had been there.

          41.     The implication that Jackson himself received plastic surgery from Kogan and

   MedSpa is even more obvious given that MedSpa has posted photos of other celebrities’ who were

   not their clients, such as YouTuber Lele Pons and musician Bandman Kevo, and included a

   disclaimer in the caption stating “*Not our client*”.




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          42.    Indeed, a commentator noted on Kogan’s February 3, 2020 post that the Photo

   implied that Jackson was compensated to take the Photo with Kogan as if he were a paid promoter

   for MedSpa.




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          43.     Other commentators expressed the misguided belief that Jackson had undergone

   plastic surgery. Comments on MedSpa’s February 1, 2020, March 11, 2020, February 22, 2021

   post under the handle “bh_perfection_medspa” include “ Was he there for a booty butt lift?         ”,

   “I’m nosey, what he get?”, “Did he Get Lipo?”, and “He be getting work done.” Defendants did

   nothing to set the record straight and clarify the implication of their posts. Indeed, in response to

   comments on the February 22, 2021 post, MedSpa replied with mere emojis.




          44.     Jackson never would have consented to Kogan taking a photograph with him had

   he been informed that Kogan and MedSpa would use the Photo or his name for promotional or

   commercial purposes. Even if Defendants offered Jackson compensation to use the Photo, he never

   would have promoted Kogan or MedSpa or licensed his image, likeness, or name to them.

          45.     In addition to posting the Photo on Defendants' social media, Kogan falsely implied

   in an article published by the blog DANIEL+LAUREN on May 7, 2022 that Jackson was




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   Defendants’ plastic surgery client.7 Kogan made similarly misleading statements and again shared

   the Photo for an article published by the blog The Libra Lounge on August 15, 2022.8




   7
     Angela Kogan Celebrates 10 Years of PERFECTION, DANIEL+LAUREN (May 7, 2022),
   https://danielpluslauren.com/2022/05/07/angela-kogan-celebrates-10-years-of-perfection/.
   7
     The Face Behind the Face of Perfection, EBBY MAGAZINE, https://www.ebbymagazine.com/the-
   face-behind-the-face-of-perfection/ (last visited Sept. 1, 2022);
   8
     Angela Kogan: The Magic Behind the FAB Faces of Bay Harbour Perfection, THE LIBRA
   LOUNGE (Aug. 15, 2022), https://thelibralounge.blog/2022/08/15/angela-kogan-bay-harbour-
   perfection/.

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          46.     Kogan also shared the Photo with Ebby Magazine for their article covering Kogan

   and her business.9




          47.     The Original Posts and Kogan’s false statements about Jackson being Defendants’

   plastic surgery client amount to a violation of Jackson’s right to publicity because his image and

   name were knowingly used without Jackson’s consent for the commercial and promotional benefit

   of Kogan and MedSpa.

   The Shade Room Publishes the Article with the Photo, Giving Rise to the False Implication
           That Jackson Received Sexual Enhancement Surgery from Defendants

          48.     On August 17, 2022, The Shade Room, a popular news and celebrity gossip media

   outlet centered on the Black community, published an exclusive article titled “Penis Enhancements

   Are More Popular Than Ever & BBLs Are Dying Out: Cosmetic Surgery CEO Angela Kogan

   Speaks On It.”10 Immediately following a statement that “[m]ore men are getting plastic surgery




   9
     The Face Behind the Face of Perfection, EBBY MAGAZINE, https://www.ebbymagazine.com/the-
   face-behind-the-face-of-perfection/ (last visited Sept. 1, 2022).
   10
      Matthew McNulty, Penis Enhancements Are More Popular Than Ever & BBLs are Dying Out:
   Cosmetic Surgery CEO Angela Kogan Speaks On It (Exclusive), THE SHADE ROOM (Aug. 17,
   2022), https://theshaderoom.com/plastic-surgery-trends-bbl-angela-kogan-exclusive/.

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   (down there) than ever before,” TSR reporter Matthew McNulty quoted Kogan as saying that she

   “has an extensive clientele of celebrities, including… 50 Cent.”

          49.     On or around August 17, 2022, TSR tweeted a link to the Article on Twitter. The

   Thumbnail Image used for the article, which was in plain view in the tweet TSR published,11

   consists of a doctored version of the Photo juxtaposed with a close-up shot of a medical provider

   presumably performing a penile enhancement procedure on a patient whose face is not visible and

   whose genitals are obscured by an eggplant emoji. The juxtaposition of the Photo featuring Jackson

   and Kogan with the picture of the procedure to create the single Thumbnail Image dramatically

   reinforces the false impression that Jackson had received this sexual enhancement treatment from

   Defendants.




   11
      Upon information and belief, TSR first published the Thumbnail Image incorporating Jackson’s
   Photo juxtaposed with that of the patient with the eggplant emoji covering his groin, but later
   replaced that image with a photo solely of Kogan and the eggplant patient. Although TSR may
   have made this change, this did not dynamically update the image when it was screengrabbed by
   Kogan and/or MedSpa, or when it was subsequently reshared on their social medial profiles. In
   other words, Kogan and or MedSpa continued to disseminate the offensive image of Jackson even
   after TSR attempted to cover up the misuse of the Jackson Photo.

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          50.     The Article itself reads as a long-form ad for Defendants rather than bona fide

   journalism. The Article is focused almost exclusively on Kogan and her practice at MedSpa. It

   prominently states that Defendants have numerous celebrity clients but with a specific emphasis

   on Jackson (whose Photo appears twice despite the fact that he has never received plastic surgery

   from Defendants), and showcases Kogan as the sole interviewee. The reporter quotes her as

   stating: “At the moment we are seeing a major shift in men getting plastic surgery. Men have really

   stepped up and are getting way more surgery than we think.” This statement is followed

   immediately by the Photo of Jackson with Kogan.




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          51.     Upon information and belief, the TSR Article was a promotional exercise

   engineered by Kogan’s talent agent and former patient, Carissa Rossi (“Rossi”), who introduced

   Kogan to representatives of TSR for the purpose of promoting Defendants’ business. According

   to her Instagram bio, Rossi “[c]onnect[s] talent and companies with partnerships that are true to

   their personal brand.” Kogan thanked TSR and Rossi in the caption of her August 17, 2022

   Instagram post.

          52.     The fact that the Article is a promotional piece rather than journalism is reinforced

   by the fact that Defendants’ own Instagram posts, rather than images such as stock photos, are

   displayed throughout the body of the Article. A person reading the Article has the ability to click

   the Instagram links in the Article to be brought directly to MedSpa’s various Instagram accounts.

   The Instagram posts throughout the Article also show the full captions associated with each post.


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   These captions include MedSpa’s phone number, statements entreating the viewer to call for a free

   consultation, and offers of promotional discounts on cosmetic surgeries and procedures. The use

   of Defendants’ Instagram posts throughout further establish that the Article itself serves a

   commercial and advertising purpose for Defendants.

           53.     Additionally, the article concludes with one last promotional push: “Those

   interested in a consult with Dr. Kogan, the ‘first and only plastic surgery in Sunny Isles,’ can do

   so by filling out a form here.”12

           54.     After the Article was published, on August 17, 2022, Kogan posted a video to her

   public Instagram account that scrolled through the Article. The video begins with a lingering still

   shot of the Thumbnail Image. The Thumbnail Image, as the first graphic that appears in the video,

   is the image that is visible from the grid view of Kogan’s profile.13

           55.     As she did previously with the Original Posts, Kogan included several high

   visibility hashtags in her post captions, such as #plasticsurgery, #theshaderoom, #celebrity, and

   #penis, clearly with the intention of gaining traction for the post and, by extension, for Kogan and

   her business.

           56.     On the same day, MedSpa acted in lockstep with Kogan, posting the same video

   with a substantially similar caption, which included even more hashtags than Kogan had in her

   post.




   12
     The word “here” is hyperlinked to this form: https://form.jotform.com/221035080660141
   13
      By using the Thumbnail Image as the primary asset on their posts after August 17, 2022,
   Defendants are intentionally directing viewers to read the Article. Thumbnail images are often
   hyperlinked to the article in question, sending the viewer directly to the article in question. At a
   minimum, if a thumbnail image is not hyperlinked, the viewer is indirectly encouraged to seek out
   the article.

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          57.     As of September 16, 2022, Kogan and MedSpa’s Instagram posts showing the

   Thumbnail Image incorporating the Jackson Photo are still live on their profiles.



                       Reception to Kogan and MedSpa’s Resharing the Article
                        Featuring Jackson’s Photo and the Thumbnail Image

          58.     Since Defendants began repeatedly posting the Thumbnail Image to their social

   media accounts, Jackson has been subjected to lewd, lascivious, and sexually objectifying

   comments from members of the public who wrongly believed that Jackson had undergone a penile

   enhancement procedure and that he endorsed Defendants. Additionally, other media outlets and

   publications have subsequently reshared the contents of the original TSR Article and the Photo.

          59.     As the result of Defendants’ misappropriation of Jackson’s name and image,

   commentators on Defendants’ posts have amplified the impression that Jackson endorsed

   Defendants and that he himself had undergone a penile enhancement procedure. On MedSpa’s

   August 17, 2022 post under the handle “bh_perfection_medspa,” one commentator crudely posted

   “Call him 50 inch      .” On the same post, another commentator posted “@50cent Can I see the

   before and after pics?” Similar comments can be found on Kogan’s August 17, 2022 post, such as:

   “Did 50 see this I don’t think he gone like that    ”, “Wait so 50 got his   done or what?”, “Why

   they got 50 cent up there talking bout        enlargement      ”, “@_cuban_link what work did

   @50cent get?? @angela_mk”.14, 15 Given that these posts are still live and publicly available, they

   can continue to mislead consumers and bring Jackson’s name into disrepute.


   14
      The @ symbol before an Instagram user’s handle creates a direct hyperlink to that specific user’s
   account. Using the @ symbol to generate this hyperlink to an individual’s account is referred to as
   “tagging.” Additionally, depending on a user’s personalized settings, the person being tagged will
   typically receive a notification that they were tagged in a comment.
   15
      The Instagram handle “_cuban_link” belongs to Jamira Haines, a/k/a Cuban Link, who is
   Jackson’s girlfriend. The Instagram handle “50cent” belongs to Jackson.

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          60.     Kogan and MedSpa, when sharing Jackson’s image in association with a sexual

   enhancement procedure, should have known that this could lead to vulgar and sexually charged

   comments about Jackson and his body, particularly in light of the ways that Black men in U.S.

   history have been, and continue to be, sexualized and fetishized. These attitudes and stereotypes

   are extremely apparent when reading the comments on Kogan and MedSpa’s posts.

          61.     Additionally, several other pop culture outlets have published substantially similar

   articles as TSR’s article, including the Photo and the false assertion that Jackson is one of Kogan’s

   plastic surgery patients.16

          62.     Kogan’s talent agent Rossi also posted the Thumbnail Image and another post about

   the Article to her professional Instagram account under the handle “crossientertainment.”

          63.     Defendants’ self-promotion through the use of Jackson’s name and image, as well

   as amplifying the false insinuation to media outlets that Jackson is a plastic surgery client, amounts

   to an egregious violation Jackson’s right to publicity, false endorsement, false advertising,

   conversion, and unjust enrichment. Defendants did so to benefit themselves financially and in the

   face of their audience at the expense of Jackson’s reputation and dignity.




   16
     Zack Zwiezen, According to Med Spa CEO, more men are finding work (below), The Hiu (Aug.
   18, 2022), https://thehiu.com/according-to-med-spa-ceo-more-men-are-finding-work-below/;
   Penis Enhancements Are More Popular Than Ever & BBLs Are Dying Out: Cosmetic Surgery
   CEO Angela Kogan Speaks On it (Exclusive), NEWS WWC (August 18, 2022),
   https://www.newswwc.com/entertainment/celebrity-news/penis-enhancements-are-more-
   popular-than-ever-bbls-are-dying-out-cosmetic-surgery-ceo-angela-kogan-speaks-on-it-
   exclusive/; Penis Enhancements Are More Popular Than Ever & BBLs Are Dying Out: Cosmetic
   Surgery CEO Angela Kogan Speaks On it (Exclusive), Star News (Aug. 18, 2022),
   https://www.starsnews.co/19956773/penis-enhancements-are-more-popular-than-ever-amp-bbls-
   are-dying-out-cosmetic-surgery-ceo-angela-kogan-speaks-on-it-exclusive#/.

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                                    COUNT I
           (RIGHT OF PUBLICITY – UNAUTHORIZED MISAPPROPRIATION OF
            NAME/LIKENESS PURSUANT TO FLA. STAT. § 540.08 AGAINST ALL
                                  DEFENDANTS)

          64.     Plaintiff repeats and realleges each and every allegation contained in paragraphs 1

   through 63 above as if fully set forth herein.

          65.     On or around February 1, 2020, Jackson agreed to take a photograph with Kogan

   under the sole impression that Kogan was a fan seeking the photograph for her private and personal

   enjoyment.

          66.     Between February 1, 2020 through August 17, 2022, Kogan and MedSpa shared

   the Photo to their social media accounts on numerous occasions for purposes of advertising and

   self-promotion.

          67.     Additionally, Kogan falsely implied in multiple online publications that Jackson

   was her client for plastic surgery procedures and/or shared the Photo with publications writing

   about Defendants’ business.

          68.     Kogan also misappropriated Jackson’s image and name when she falsely implied

   in the TSR article that Jackson received plastic surgery procedures (including penile enhancement)

   from Defendants, when she permitted TSR’s use and publication of the Photo, and when she and

   MedSpa repeatedly shared the doctored Thumbnail Image incorporating the Photo on their social

   media accounts.

          69.     These posts have fueled the misconception that Jackson endorses Defendants’

   business, that Jackson was or is Defendants’ client for plastic surgery procedures, and that Jackson

   obtained a penile enhancement procedure from Defendants. Defendants knew that Jackson never




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   received plastic surgery from Defendants, yet they proceeded to imply to TSR and other media

   outlets that he had.

           70.     Jackson has received no payment, royalties, or any other economic or social benefit

   from Defendants’ use of his name or image.

           71.     At no time did Jackson ever consent to Defendants’ use of the Photo in an any type

   of advertising or promotional manner. Defendants have been the sole beneficiaries of

   misappropriating Jackson’s name and image.

           72.     Defendants’ actions have caused Jackson reputational harm and have subjected him

   to lewd, invasive, and objectifying public commentary, and have stripped Jackson of his right to

   control when, how, and to whom he permits his name and image to be utilized.

           73.     As a direct and proximate cause of the foregoing, Plaintiff has suffered, and

   continues to suffer, irreparable harm for which monetary damages will be inadequate and thus is

   entitled to appropriate injunctive relief.

           74.     Alternatively, Plaintiff has suffered, and continues to suffer, substantial damages

   from the loss of his right to publicity, and, accordingly, Plaintiff is entitled to damages in an amount

   to be determined at trial.

                                COUNT II
         (COMMON LAW INVASION OF PRIVACY AGAINST ALL DEFENDANTS)

           75.     Plaintiff repeats and realleges each and every allegation contained in paragraphs 1

   through 63 above as if fully set forth herein.

           76.     On or around February 1, 2020, Jackson agreed to take a photograph with Kogan

   under the sole impression that Kogan was a fan seeking the photograph for her private and personal

   enjoyment.




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             77.   Between February 1, 2020 through August 17, 2022, Kogan and MedSpa shared

   the Photo to their social media accounts on numerous occasions for purposes of advertising and

   self-promotion.

             78.   Additionally, Kogan falsely implied in multiple online publications that Jackson

   was her client for plastic surgery procedures and/or shared the Photo with publications writing

   about Defendants’ business.

             79.   Kogan also misappropriated Jackson’s image and name when she falsely implied

   in the TSR article that Jackson received plastic surgery procedures (including penile enhancement)

   from Defendants, when she permitted TSR’s use and publication of the Photo, and when she and

   MedSpa repeatedly shared the doctored Thumbnail Image incorporating the Photo on their social

   media accounts.

             80.   These posts have fueled the misconception that Jackson endorses Defendants'

   business, that Jackson was or is Defendants’ plastic surgery client, and that Jackson obtained a

   penile enhancement procedure from Defendants. Defendants knew that Jackson never received

   plastic surgery from Defendants, yet they proceeded to imply to TSR and other media outlets that

   he had.

             81.   Jackson has received no payment, royalties, or any other economic or social benefit

   from Defendants’ use of his name or image.

             82.   At no time did Jackson ever consent to Defendants’ use of the Photo in an any type

   of advertising or promotional manner. Defendants have been the sole beneficiaries of

   misappropriating Jackson’s name and image.




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           83.     Defendants’ actions have caused Jackson reputational harm and have subjected him

   to lewd, invasive, and objectifying public commentary, and have stripped Jackson of his right to

   control when, how, and to whom he permits his name and image to be utilized.

           84.     As a direct and proximate cause of the foregoing, Plaintiff has suffered, and

   continues to suffer irreparable harm for which monetary damages will be inadequate and thus is

   entitled to appropriate injunctive relief.

           85.     Alternatively, Plaintiff has suffered, and continues to suffer, substantial damages

   from the invasion of his right to privacy, and, accordingly, Plaintiff is entitled to damages in an

   amount to be determined at trial.

                               COUNT III
    (VIOLATION OF THE LANHAM ACT, 15 U.S.C. § 1125(a): FALSE ENDORSEMENT
                        AGAINST ALL DEFENDANTS)

           86.     Plaintiff repeats and realleges each and every allegation contained in paragraph 1

   through 63 above as if fully set forth herein.

           87.     Defendants have misleadingly used Jackson’s name and image in violation of the

   Lanham Act, 15. U.S.C. § 1125(a) to create and establish the false impression that Jackson

   endorsed, approved, or sponsored Defendants’ business in an effort to generate revenue for

   Defendants’ company and/or to give themselves an overall commercial benefit.

           88.     Defendants did so on countless occasions, including: when they repeatedly posted

   the Photo of Jackson on social media; when Kogan falsely implied in several online publications

   that Jackson was Defendants' plastic surgery client and/or shared the Photo with such publications;

   when Defendants misappropriated Jackson’s name and image for use in the TSR article; and when

   they shared on social media the Article, the Thumbnail Image, and a screenshot repeating the false

   insinuation that Jackson was a client for plastic surgery and penile enhancement treatment.



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           89.     Jackson never consented to his name and image being used in any way to endorse

   or sponsor Kogan, MedSpa, and/or Defendants’ goods and services.

           90.     Jackson never signed a contract or made an oral agreement to endorse or sponsor

   Defendants, and therefore Defendants were aware that Jackson had made no formal or informal

   endorsement, sponsorship, or approval of Defendants and their business.

           91.     Defendants’ actions have already and continue to deceive consumers into the belief

   that Jackson was a plastic surgery patient and endorsed, approved, and/or sponsored Defendants’

   goods and services.

           92.     Kogan, as the owner and an officer of MedSpa, participated in the decision to

   engage in infringing acts or caused the infringement to occur because she had the Photo taken, she

   caused or permitted MedSpa to use the Photo on its social media accounts, she supplied the Photo

   to the various online publications, and she herself made statements to the TSR reporter implying

   that Jackson was Defendants’ client for plastic surgery and penile enhancement procedures.

           93.     Defendants’ actions have caused irreparable harm to Jackson’s reputation and

   brand by falsely claiming that Jackson endorsed, approved of, or sponsored Defendants and their

   business, and specifically that he endorsed their plastic surgery or penile enhancement procedures

   as a result of having been Defendants' client for such procedures. No monetary relief will

   adequately compensate Plaintiff for such irreparable harm and thus he is entitled to appropriate

   injunctive relief.

           94.     Alternatively, as a direct and proximate cause of the foregoing, Plaintiff has

   suffered, and continues to suffer, substantial damages from Defendants’ false endorsement and,

   accordingly, Plaintiff is entitled to compensatory damages in an amount to be determined at trial,

   statutory trebling of damages, disgorgement of profits earned directly or indirectly by Defendants’



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   unlawful endorsement, attorneys’ fees and costs, the destruction of the false endorsements, and/or

   any other relief that is just and proper.

                               COUNT IV
     (VIOLATION OF THE LANHAM ACT, 15 U.S.C. § 1125(a): FALSE ADVERTISING
                        AGAINST ALL DEFENDANTS)

           95.     Plaintiff repeats and realleges each and every allegation contained in paragraph 1

   through 63 above as if fully set forth herein.

           96.     Defendants’ actions described herein constitute false advertisement in violation of

   Section 43 of the Lanham Act, 15 U.S.C. § 1125, et seq.

           97.     Defendants misleadingly used Jackson’s name and image, without Jackson’s

   consent, to create the false perception that Jackson was a plastic surgery client of Defendants and

   that Jackson endorsed their business.

           98.     Defendants used Plaintiff’s name and image to establish a false endorsement of

   their company on countless occasions, including: when they repeatedly posted the Photo of

   Jackson on social media; when Kogan falsely implied in several online publications that Jackson

   was Defendants' plastic surgery client and/or shared the Photo with such publications; when

   Defendants misappropriated Jackson’s name and image for use in the TSR article; and when they

   shared on social media the Article, the Thumbnail Image, and a screenshot repeating the false

   insinuation that Jackson was a client for plastic surgery and penile enhancement treatment.

           99.     Defendants’ actions have already deceived and continue to deceive consumers into

   the belief that Jackson himself received plastic surgery and sexual enhancement procedures from

   Defendants.

           100.    Defendants were aware that their insinuation that Jackson was a plastic surgery

   patient was false because they as health care providers are in the position to know who has and has



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   not received their services based on their records and other forms of documentation. In doing so,

   they used Jackson’s name, image, and likeness as false advertising for their business.

           101.    Defendants have used Jackson’s name and image in interstate commerce by posting

   advertising social media content that is accessible to anyone across the country, and because

   MedSpa has locations both in Las Vegas and in Florida.

           102.    Defendants’ use of Jackson’s name and image is used to attract consumers to

   obtains goods and services from Kogan and MedSpa, which has a direct and indirect effect on their

   revenue.

           103.    Defendants’ actions have caused irreparable harm to Jackson’s reputation and

   brand by associating him with Defendants, Defendants’ line of business in the plastic surgery

   industry, and with specifically having had sexual enhancement procedures. No monetary relief

   will adequately compensate Plaintiff for such irreparable harm and thus he is entitled to appropriate

   injunctive relief.

           104.    Alternatively, as a direct and proximate cause of the foregoing, Plaintiff has

   suffered, and continues to suffer, substantial damages from Defendants’ false advertising and,

   accordingly, Plaintiff is entitled to compensatory damages in an amount to be determined at trial,

   statutory trebling of damages, disgorgement of profits earned directly or indirectly by Defendants’

   unlawful false advertising, attorneys’ fees and costs, the destruction of the false advertisements,

   and/or any relief that is just and proper.

                                        COUNT V
                          (CONVERSION AGAINST ALL DEFENDANTS)

           105.    Plaintiff repeats and realleges each and every allegation contained in paragraphs 1

   through 63 above as if fully set forth herein.




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          106.    Jackson is, and at all relevant times was, the exclusive owner of all rights, title, and

   interest to his image, likeness, and/or identity. Jackson has an intangible property interest in his

   name, image, and likeness.

          107.    Defendants converted Jackson’s property rights over his name and image when they

   used said intangible property for their own advertising and financial gain without Jackson’s

   consent.

          108.    As a direct and proximate cause of the foregoing, Plaintiff has suffered, and

   continues to suffer, substantial damages from Defendants’ conversion of his property rights, and,

   accordingly, Plaintiff is entitled to all remedies available under the common law claim for

   conversion, including but not limited to actual damages, costs, interest, and restitution of

   Defendants’ unlawful proceeds, and/or other relief deemed just and proper.

                                     COUNT VI
                    (UNJUST ENRICHMENT AGAINST ALL DEFENDANTS)

          109.    Plaintiff repeats and realleges each and every allegation contained in paragraphs 1

   through 63 above as if fully set forth herein.

          110.    Jackson’s name, image, and likeness bear substantial monetary value.

          111.    Defendants were and continue to be aware that Jackson’s name and image bear

   substantial monetary value, and that the use of his name and image for their own goods and services

   could lead to a financial and commercial benefit for themselves.

          112.    Jackson conferred a benefit upon Defendants by voluntarily taking the Photo with

   Kogan. Jackson was unaware that this Photo would be used as advertising to the commercial

   benefit of Defendants. Jackson never consented to Defendants’ use of the Photo in this capacity.




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          113.     Defendants used Jackson’s name and image to obtain a financial and commercial

   benefit when they shared the Photo repeatedly on social media and when they falsely insinuated

   that Jackson was a plastic surgery patient.

          114.     Defendants have retained profits and other benefits conferred upon them by using

   Jackson’s image and name to promote and advertise Defendants’ business.

          115.     It would be inequitable for Defendants to retain the benefits conferred upon them

   by using Jackson’s image and name without paying fair value for the image.

          116.     As a direct and proximate cause of the foregoing, Plaintiff has suffered, and

   continues to suffer, substantial damages from Defendants’ unjust enrichment at Plaintiff’s expense,

   and, accordingly, Plaintiff is entitled to all remedies available under the common law claim for

   unjust enrichment, including but not limited to actual damages, costs, interest, restitution of

   unlawful proceeds, and/or other relief deemed just and proper.

                 DEFENDANTS’ CONDUCT WARRANTS PUNITIVE DAMAGES

          117.     Defendants’ conduct warrants the imposition of punitive damages. The factors

   justifying punitive damages include, at a minimum, the following:

              a.      Defendants knew that they did not have Jackson’s permission to use his name

                      and image;

              b.      Defendants’ disregard for Jackson’s right to publicity and to use his name and

                      image as he chooses was intentional, wanton, and malicious.

                                       PRAYER FOR RELIEF

          WHEREFORE, Plaintiff Curtis J. Jackson, III respectfully requests that the Court enter

   an order and judgment in favor of him against Defendants Angela Kogan and Perfection Plastic

   Surgery, Inc, containing the following relief:



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            a. Preliminarily and permanently enjoining Defendants from falsely stating that

               Jackson is their client, sharing the Photo of Jackson with Kogan in connection with

               any and all plastic surgery and sexual enhancement procedures, sharing the Photo

               of Jackson with Kogan on any and all social media profiles and with any and all

               media outlets, and engaging in any further actions that could allow a reasonable

               person to construe Jackson as endorsing, partnering with, or supporting Kogan and

               MedSpa;

            b. Awarding Plaintiff damages, in an amount to be proven at trial, to compensate him

               for harm to the commercial value of his image and name, for loss of royalties, and

               professional and personal reputational harm;

            c. Awarding Plaintiff treble damages for Defendants’ violations of the Lanham Act,

               based on trebling of actual damages in an amount to be proven at trial;

            d. Awarding Plaintiff punitive and exemplary damages, in an amount to be proven at

               trial;

            e. Awarding Plaintiff reasonable attorneys’ fees and costs under the Lanham Act;

            f. Awarding Plaintiff interest in any amount according to law;

            g. Any and all remedies available under 15 U.S.C. § 1125, including: disgorgement

               of any profits made by Defendants, directly or indirectly, arising from the

               unauthorized use of Jackson’s name and image; compensatory damages in an

               amount to be determined at trial; and the destruction of all copies in any media of

               the infringing images; and

            h. Granting Plaintiff such and other further relief at law or in equity as the Court deems

               just and proper.



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                                  DEMAND FOR TRIAL BY JURY

          Pursuant to Federal Rule of Civil Procedure 38(b), Plaintiff Curtis J. Jackson, III hereby

   demands a trial by jury in this action on all claims so triable.


    Dated: September 16, 2022                          Respectfully submitted,

                                                       AKERMAN LLP

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